       Case 1:24-cv-07123-JLR        Document 13          Filed 11/21/24    Page 1 of 1

                    STEIN & NIEPORENT LLP                             David Stein: DSTEIN@STEINLLP.COM
                                                                                 (admitted in NY, NJ, PA, DC, IL)
                    1441 Broadway, Suite 6090
                    New York, NY 10018
                    (212) 308-3444 Main                     David Nieporent: DNIEPORENT@STEINLLP.COM
                                                                                            (admitted in NY, NJ)
                    (212) 836-9595 Fax
                    www.steinllp.com
                                         November 14, 2024


VIA ECF                                       The requested extension is GRANTED. The Court
                                              extends the deadline to file an answer to December
Hon. Jennifer L. Rochon, U.S.D.J.             5, 2024.
United States District Court
Southern District of New York
                                              Date: November 21, 2024
500 Pearl Street, Room 1920
                                                    New York, New York
New York, NY 10007

       Re:    Saunders v. Matawana LLC
              Case No. 24-cv-7123 (JLR) (JW)

Dear Judge Rochon:

        We just were retained to represent defendant Matawana LLC in the above-
referenced ADA website accessibility case. Upon reviewing the docket, we notice that our
client’s response to the complaint was due on October 30 (and previously on October 22).
With the gracious consent of opposing counsel, we respectfully request for the first time a
nunc pro tunc extension of time until December 5 to respond to the complaint. No other
dates will be affected if our request is granted.

      We thank the Court for its attention to this matter, and we are available at Your
Honor’s convenience if the Court has any questions regarding the foregoing.

                                            Respectfully submitted,

                                            David Stein

cc: John L. Norinsberg, Esq. (via ECF)
